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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION



 MARK K. JACKSON, JR.,                              )
                                                    )
        Plaintiff,                                  )
                                                    )
                                                    )
 v.                                                 )   Case No. 4:18-CV-01884 SEP
                                                    )
 LT. BROCK, et al.,                                 )
                                                    )
                                                    )
        Defendant.                                  )

                                    Memorandum and Order
       This matter is before the Court on Plaintiff’s Motion for Appointment of Counsel (Doc.

[38]). The Court has twice denied Plaintiff’s requests for counsel, explaining that there is no

constitutional right to appointed counsel in civil cases; rather, the Court may appoint counsel if

warranted by certain factors, such as the complexity of the case and the litigant’s ability to

investigate the facts and present his claims to the Court. Docs. [6] and [32]. In support of his

present, renewed motion, Plaintiff asserts “the nature and complexity of this case has changed,”

but he does not explain precisely what about this case has changed since the Court’s previous

order. Consequently, the Court sees no reason to revise its previous ruling at this time.

       Accordingly,
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       IT IS HEREBY ORDERED that Plaintiff’s Motion for Appointment of Counsel (Doc.

[38]) is DENIED at this time.




Dated this   25th    Day of September, 2020.




                                               SARAH E. PITLYK
                                               UNITED STATES DISTRICT JUDGE
